         Case 1-19-44768-jmm            Doc 40     Filed 11/03/21         Entered 11/03/21 19:24:59



                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF NEW YORK


       In re: RIVERA, SILVERIO                                        §    Case No. 119-44768
                                                                      §
                                                                      §
   Debtor(s)                                                          §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         RICHARD J. McCORD, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $7,928.00                            Assets Exempt: $7,628.00
 (without deducting any secured claims)
 Total Distribution to Claimants:$7,134.59             Claims Discharged
                                                       Without Payment: $100,311.30

 Total Expenses of Administration:$8,865.41


         3) Total gross receipts of $     16,000.00      (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00    (see Exhibit 2  ), yielded net receipts of $16,000.00
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                         $227,431.00             $0.00               $0.00             $0.00

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00           8,865.41          8,865.41           8,865.41

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                      0.00               0.00               0.00                 0.00
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                    105,892.00          33,643.89          33,643.89          7,134.59

                                          $333,323.00         $42,509.30         $42,509.30        $16,000.00
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on August 05, 2019.
  The case was pending for 26 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 10/06/2021                 By: /s/RICHARD J. McCORD
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                          UNIFORM                                  $ AMOUNT
              DESCRIPTION
                                                                                         TRAN. CODE 1                              RECEIVED
     3655 Lark Street, Levittown, New York 11756                                         1110-000                                    16,000.00


    TOTAL GROSS RECEIPTS                                                                                                            $16,000.00

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                          UNIFORM                                  $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                         TRAN. CODE                                   PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                                $0.00
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED               CLAIMS                  CLAIMS            CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form            ASSERTED                ALLOWED             PAID
                                                       CODE                6D)
 NOTFILED         Wells Fargo Home Mortage             4110-000             227,431.00            N/A                    N/A                       0.00


    TOTAL SECURED CLAIMS                                                   $227,431.00                  $0.00             $0.00                   $0.00



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                                      UNIFORM
        PAYEE                                                          CLAIMS                 CLAIMS                  CLAIMS            CLAIMS
                                                       TRAN.
                                                                      SCHEDULED              ASSERTED                ALLOWED             PAID
                                                       CODE
 Trustee Expenses - RICHARD J. McCORD                       2200-000             N/A                    166.55           166.55                  166.55

 Attorney for Trustee Expenses (Trustee     3120-000                             N/A                     17.86             17.86                  17.86
 Firm) - Certilman Balin Adler & Hyman, LLP
 Attorney for Trustee Fees (Trustee Firm) - 3110-000                             N/A                6,331.00            6,331.00            6,331.00
 Certilman Balin Adler & Hyma, LLP
 Trustee Compensation - RICHARD J. McCORD   2100-000                             N/A                2,350.00            2,350.00            2,350.00

    TOTAL CHAPTER 7 ADMIN. FEES                                            N/A                    $8,865.41            $8,865.41           $8,865.41
    AND CHARGES


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EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                         UNIFORM
    PAYEE                                              CLAIMS               CLAIMS             CLAIMS       CLAIMS
                                          TRAN.
                                                      SCHEDULED            ASSERTED           ALLOWED        PAID
                                          CODE
                                                    None

 TOTAL PRIOR CHAPTER ADMIN.                                N/A                        $0.00        $0.00         $0.00
 FEES AND CHARGES


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                         UNIFORM       CLAIMS               CLAIMS
   CLAIM                                              SCHEDULED            ASSERTED            CLAIMS       CLAIMS
    NO.           CLAIMANT                TRAN.        (from Form         (from Proofs of     ALLOWED        PAID
                                          CODE             6E)                 Claim)
                                                    None

 TOTAL PRIORITY UNSECURED                                        $0.00                $0.00        $0.00         $0.00
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                         UNIFORM       CLAIMS               CLAIMS
   CLAIM                                              SCHEDULED            ASSERTED            CLAIMS       CLAIMS
    NO.           CLAIMANT                TRAN.        (from Form         (from Proofs of     ALLOWED        PAID
                                          CODE             6F)                 Claim)
      1     American Express National    7100-000                146.00            1,173.59      1,173.59       248.88
            Bank
      2     Department Stores National   7100-000             5,965.00             5,965.82      5,965.82      1,265.12
            Bank
      3     Portfolio Recovery           7100-000            25,979.00           26,504.48      26,504.48      5,620.59
            Associates, LLC
 NOTFILED   Student Loan Corp            7100-000             3,037.00          N/A                N/A             0.00

 NOTFILED   Student Loan Corp            7100-000            15,501.00          N/A                N/A             0.00

 NOTFILED   EOS CCA                      7100-000                 73.00         N/A                N/A             0.00

 NOTFILED   Wells Fargo Bank             7100-000            39,808.00          N/A                N/A             0.00

 NOTFILED   Bank of America              7100-000            14,497.00          N/A                N/A             0.00

 NOTFILED   Citibank                     7100-000                886.00         N/A                N/A             0.00

 TOTAL GENERAL UNSECURED                                   $105,892.00          $33,643.89     $33,643.89     $7,134.59
 CLAIMS




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                                                                                                                                                                                  Exhibit 8


                                                                                     Form 1                                                                                       Page: 1

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 119-44768                                                                           Trustee:       (521290)     RICHARD J. McCORD
Case Name:          RIVERA, SILVERIO                                                             Filed (f) or Converted (c): 08/05/19 (f)
                                                                                                 §341(a) Meeting Date:       09/11/19
Period Ending: 10/06/21                                                                          Claims Bar Date:            04/29/20

                                1                                            2                              3                      4                    5                     6

                    Asset Description                                   Petition/              Estimated Net Value            Property            Sale/Funds            Asset Fully
         (Scheduled And Unscheduled (u) Property)                     Unscheduled         (Value Determined By Trustee,      Abandoned            Received by        Administered (FA)/
                                                                         Values              Less Liens, Exemptions,         OA=§554(a)            the Estate         Gross Value of
Ref. #                                                                                           and Other Costs)                                                    Remaining Assets

 1       Used Furniture and other household goods                             1,500.00                            0.00                                       0.00                       FA
          Imported from original petition Doc# 12

 2       TV. Cell Phone                                                          400.00                           0.00                                       0.00                       FA
          Imported from original petition Doc# 12

 3       Used Clothing                                                           200.00                           0.00                                       0.00                       FA
          Imported from original petition Doc# 12

 4       Cash                                                                    150.00                           0.00                                       0.00                       FA
          Imported from original petition Doc# 12

 5       3655 Lark Street, Levittown, New York 11756                       202,500.00                             0.00                                  16,000.00                       FA
          Petitioin amended on July 15, 2020 to include real
         property

 6       2009 Toyota Tacoma mileage 115341                                    5,678.00                            0.00                                       0.00                       FA

 6       Assets      Totals (Excluding unknown values)                    $210,428.00                            $0.00                                $16,000.00                    $0.00



     Major Activities Affecting Case Closing:

                  follow up with debtor's attorney and ex-wife re: offer on equity in property


                  9/19/19 At the 341A Meeting of Creditors, the debtor advised the Trustee he owns property not listed in petition in Levittown, NY with possible equity with his Ex-wife,
                  and has a 2009 Toyota not listed in petition


                  9/19/19 The Trustee sent correspondence to debtor's attorney requesting contact information for debtor's ex-wife, copies of the deed, current mortgage statement
                  and appraisal for the property in Levittown, NY, and copies of the title, lease or lien and value of the 2009 Toyota. The Trustee also advised debtor's attorney to
                  amend debtor's petition to include these assets.


                  10/11/19 The Trustee sent follow up correspondence to debtor's attorney requesting contact information for debtor's ex-wife, copies of the deed, current mortgage
                  statement and appraisal for the property in Levittown, NY, and copies of the title, lease or lien and value of the 2009 Toyota. The Trustee also advised debtor's
                  attorney to amend debtor's petition to include these assets.


                  1/23/20- The Trustee sent follow up correspondence to debtor's attorney requesting contact information for debtor's ex-wife, copies of the deed, current mortgage
                  statement and appraisal for the property in Levittown, NY and copies of the title, lease or lien and value of the 2009 Toyota. The Trustee also advised debtor's
                  attorney to amend debtor's petition to include these assets.


                  01/29/20- The Trustee filed a notice of discovery of assets with the Court.


                  6/30/2020-The Trustee sent follow-up correspondence to Norma Ortiz, Esq. requesting contact information for debtor's ex-wife, copies of the deed, current mortgage

                                                                                                                                                 Printed: 10/06/2021 11:35 AM      V.20.36
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                                                                                                                                                                                   Exhibit 8


                                                                                    Form 1                                                                                        Page: 2

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 119-44768                                                                       Trustee:       (521290)         RICHARD J. McCORD
Case Name:      RIVERA, SILVERIO                                                             Filed (f) or Converted (c): 08/05/19 (f)
                                                                                             §341(a) Meeting Date:           09/11/19
Period Ending: 10/06/21                                                                      Claims Bar Date:                04/29/20

                              1                                             2                           3                          4                    5                     6

                    Asset Description                                  Petition/              Estimated Net Value             Property            Sale/Funds            Asset Fully
         (Scheduled And Unscheduled (u) Property)                    Unscheduled         (Value Determined By Trustee,       Abandoned            Received by        Administered (FA)/
                                                                        Values              Less Liens, Exemptions,          OA=§554(a)            the Estate         Gross Value of
Ref. #                                                                                          and Other Costs)                                                     Remaining Assets

               statement and appraisal for the property in Levittown, NY and copies of the title, lease or lien and value of the 2009 Toyota. The Trustee also advised debtor's
               attorney to amend debtor's petition to include these assets.


               7/16/2020 The Trustee has received and reviewed documents from debtor's attorney. Based upon same, the Trustee has requested a copy of a current mortgage
               statement for the Levittown property, advised to amend Schedule D to include mortgage if there is one, and advised debtor cannot take a homestead exemption for
               the property as it is not debtor's principal residence.


               8/4/2020 As there appears to be a significant amount of non exempt equity in the property located at 3566 Lark Street, Levittown, NY 11756, the Trustee sent email
               correspondence to debtor's attorney asking if the debtor will be making an offer to the Trustee to purchase the Trustee's right, title and interest for the non exempt
               portion of the equity. The Trustee also sent correspondence to debtor's ex-wife, Sandra Rivera, as she is co-owner of the property asking if she will be making an
               offer to purchase the trustee's right, title and interest in said property.


               8/11/23020 The Trustee received email correspondence from debtor's attorney advising debtor had no interest in the house, he was divorced and was ordered to
               pay the mortgage etc., but he lost income after the divorce. He cold no longer afford to meet all of his obligations under the divorce , it was an oversight that
               attorney did not list house on the schedules as debtor had no interest in keeping the house, after the petition was filed debtor called the attorney advising his
               daughter has Lupus, just had a baby and she moved in to the house, and wanted to know what he could do to keep the house for his ex and his daughter. Debtor
               cannot afford a Chapter 13 to save the house and can't afford to buy it due to COVID, Debtor's attorney believes a sale is the only option but is not sure how the
               divorce impacts the ability to sell the house. Based upon same, the Trustee has sent email correspondence to debtor's attorney requesting a copy of debtor's
               Divorce Decree for review.


               10/9/2020 The Trustee sent follow-up email correspondence to the debtor's attorney requesting a copy of the debtor's divorce decree for the Trustee's review.


               11/2/2020 The Trustee received a copy of the stipulation of settlement dated June 26, 2017 between the debtor and his ex-wife.


               11/5/2020 The Trustee sent follow-up correspondence via first class mail and certified mail to the debtor's ex-wife requesting that she make an offer to the Trustee to
               purchase the Trustee's right, title and interest in the real property located in Levittown, NY.


               11/20/2020 The Trustee sent further follow-up correspondence via first class mail and certified mail to the debtor's ex wife requesting that she make an offer to the
               Trustee to purchase the Trustee's right, title and interest in the real property located in Levittown, NY.


               1/21/2021 The Trustee sent further follow-up correspondence via Federal Express and first class mail to the debtor's ex-wife requesting that she make an offer to the
               Trustee to purchase the Trustee's right, title and interest in the real property located in Levittown, NY. The Trustee stated in this correspondence that this is the final
               request and a response is required within ten days from the date of the letter.


               2/10/2021 The Trustee received a response from Gary Field, Esq., stating that he represents the debtor's ex-wife, Sandra Rivera, and that he is requesting that the
               Trustee contact him to discuss the Trustee's intention to retain a real estate broker to sell the former marital residence.


               3/3/2021 The Trustee filed the application to retain Certilman Balin Adler & Hyman, LLP as counsel to the Trustee.


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                                                                                    Form 1                                                                                       Page: 3

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 119-44768                                                                     Trustee:          (521290)       RICHARD J. McCORD
Case Name:      RIVERA, SILVERIO                                                           Filed (f) or Converted (c): 08/05/19 (f)
                                                                                           §341(a) Meeting Date:            09/11/19
Period Ending: 10/06/21                                                                    Claims Bar Date:                 04/29/20

                             1                                            2                             3                         4                    5                     6

                    Asset Description                                  Petition/            Estimated Net Value              Property            Sale/Funds           Asset Fully
         (Scheduled And Unscheduled (u) Property)                    Unscheduled       (Value Determined By Trustee,        Abandoned            Received by       Administered (FA)/
                                                                        Values            Less Liens, Exemptions,           OA=§554(a)            the Estate        Gross Value of
Ref. #                                                                                        and Other Costs)                                                     Remaining Assets


               03/09/21- The Trustee has been contacted by Gary Field, Esq. on behalf of Sandra Rivera, the debtors ex-wife and the co-owner of the Levittown Real property who
               advised that Ms. Rivera is considering making an offer to the Trustee. The Trustee is awaiting said offer.


               03/16/21- Email sent to Gary Field requesting a status of his clients offer for the real property.


               03/26/21- Email sent to Gary Field requesting a status.


               04/06/21- The Trustee has received an offer from Sandra Rivera, the debtor's ex-wife, for the purchase of the Trustee's right, title and interest in the real property
               located at 3655 Lark Street, Levittown, New York, for the sum of $20,000.00. The Trustee has accepted the offer and will prepare the Stipulation of Settlement. Email
               sent to UST requesting a status of the Certilman Balin retention.


               04/08/21- The draft Stipulation of Settlement has been forwarded to counsel for Sandra Rivera for his review and comments.


               04/09/21- Email sent to UST re: status of retention


               04/19/21- Follow up email sent to Gary Field, Esq. requesting status of review of the Stipulation of Settlement.


               04/30/21- Pursuant to further discussion with Gary Field, Esq., the debtors ex-wife was having difficulty obtaining the full amount of the settlement funds. She has
               been diagnosed with bile duct cancer and is undergoing chemotherapy. She was able to obtain the sum of $16,000.00. Based upon same, the Trustee accepted the
               reduced offer. The revised Stipulation has been sent to her counsel. Email correspondence to UST requesting a status of the Certilman retention.


               05/04/21- The Order for the Certilman retention was entered on May 4, 2021.


               05/6/21- The Trustee has received the executed Stipulation. The Trustee has prepared and filed the Notice of Presentment and Application in Support for an Order
               Pursuant to Rule 9019(a) of the Federal Rules of Bankruptcy Procedure Authorizing Compromise and Settlement was filed. Objections are to be filed by May 26,
               2021, the Order is scheduled to be presented for signature on June 2, 2021 and if there are no objections, the hearing will be scheduled for June 15, 2021.


               06/03/21- The Order Pursuant to Rule 9019(a) of the Federal Rules of Bankruptcy Procedure Authorizing Compromise and Settlement was signed on June 2, 2021.
               The order has been forwarded to Gary Field, Esq., counsel to Sandra Rivera, requesting that the funds be sent to the Trustee within 10 business days of the approval
               of the Stipulation. Email recieved that they were awating the check to be issued from the account administrator.


               06/16/21- Email sent to Gary Field, Esq. requesting a status as to when the Trustee would be in receipt of the settlement funds. Email received from Gary Field
               advising that the funds will be sent out to the Trustee this week.


               06/29/21- The Trustee filed a request with the Court for Clerk Fees.


               06/30/21- The Trustee has received the funds in the amount of $16,000.00 for the purchase of the Trustee's right, title and interest in the Levittown Property pursuant


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                                                                                                                                                                               Exhibit 8


                                                                                   Form 1                                                                                      Page: 4

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 119-44768                                                                    Trustee:        (521290)        RICHARD J. McCORD
Case Name:          RIVERA, SILVERIO                                                      Filed (f) or Converted (c): 08/05/19 (f)
                                                                                          §341(a) Meeting Date:           09/11/19
Period Ending: 10/06/21                                                                   Claims Bar Date:                04/29/20

                               1                                               2                      3                          4                   5                     6

                    Asset Description                                      Petition/        Estimated Net Value            Property             Sale/Funds           Asset Fully
         (Scheduled And Unscheduled (u) Property)                        Unscheduled   (Value Determined By Trustee,      Abandoned             Received by       Administered (FA)/
                                                                            Values        Less Liens, Exemptions,         OA=§554(a)             the Estate        Gross Value of
Ref. #                                                                                        and Other Costs)                                                    Remaining Assets

                to the Stipulation of Settlment.
                .
                07/02/21- The Trustee has executed the quitclaim deed and related transfer documents and forwarded same to counsel for Sandra Rivera.


                07/08/21- The Trustee has prepared and filed the Trustee's Final Report with the Office of the United States Trustee.


                07/22/21- The final report was approved and the final hearing is scheduled for August 18, 2021 at 10:00 a.m.


                08/25/21- There were no objections filed to the Trustee;'s final report and on August 19, 2021, the Order Approving the fees to Certilman Balin as counsel to the
                Trustee and the Order approving the Trustee's final report were signed. The Trustee has distributed the funds from the estate. Upon reciept of a zero bank balance, the
                Trustee will file the Affidavit of Final Distribution.

     Initial Projected Date Of Final Report (TFR):          February 5, 2020                Current Projected Date Of Final Report (TFR):          July 8, 2021 (Actual)




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                                                                                                                                                                                       Exhibit 9


                                                                                       Form 2                                                                                           Page: 1

                                                    Cash Receipts And Disbursements Record
Case Number:         119-44768                                                                          Trustee:            RICHARD J. McCORD (521290)
Case Name:           RIVERA, SILVERIO                                                                   Bank Name:          TriState Capital Bank
                                                                                                        Account:            ******5943 - Checking Account
Taxpayer ID #: **-***7583                                                                               Blanket Bond:       $42,742,595.00 (per case limit)
Period Ending: 10/06/21                                                                                 Separate Bond: N/A

   1            2                          3                                             4                                              5                     6                    7

 Trans.     {Ref #} /                                                                                                               Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From                   Description of Transaction                  T-Code              $                    $       Account Balance
06/30/21       {5}        Sandra Rivera                        Funds for the purchase of the estates right, title 1110-000              16,000.00                                  16,000.00
                                                               and interest in the Levittown Property pursuant
                                                               to the Court approved Stipulation of Settlement
08/25/21      101         RICHARD J. McCORD                    Payment of Trustee's Expenses pursuant to           2200-000                                       166.55           15,833.45
                                                               Court Order dated August 19, 2021
08/25/21      102         Certilman Balin Adler & Hyman, LLP   Payment of Expenses to Counsel for the              3120-000                                        17.86           15,815.59
                                                               Trustee Pursuant to Court Order dated August
                                                               19, 2021
08/25/21      103         Certilman Balin Adler & Hyman, LLP   Payment of Fees to Counsel for the Trustee          3110-000                                    6,331.00                9,484.59
                                                               Pursuant to Court Order dated August 19,
                                                               2021
08/25/21      104         RICHARD J. McCORD                    Payment of Trustee's Commissions Pursuant           2100-000                                    2,350.00                7,134.59
                                                               to Court Order dated August 19, 2021
08/25/21      105         American Express National Bank       Dividend paid 21.20% on $1,173.59; Claim# 1; 7100-000                                              248.88               6,885.71
                                                               Filed: $1,173.59;
08/25/21      106         Department Stores National Bank      Dividend paid 21.20% on $5,965.82; Claim# 2; 7100-000                                           1,265.12                5,620.59
                                                               Filed: $5,965.82;
08/25/21      107         Portfolio Recovery Associates, LLC   Dividend paid 21.20% on $26,504.48; Claim#          7100-000                                    5,620.59                    0.00
                                                               3; Filed: $26,504.48;

                                                                                       ACCOUNT TOTALS                                   16,000.00             16,000.00                  $0.00
                                                                                              Less: Bank Transfers                           0.00                   0.00
                                                                                       Subtotal                                         16,000.00             16,000.00
                                                                                              Less: Payments to Debtors                                             0.00
                                                                                       NET Receipts / Disbursements                    $16,000.00           $16,000.00



                                                                                                                                          Net                Net                   Account
                                                                                       TOTAL - ALL ACCOUNTS                             Receipts        Disbursements              Balances

                                                                                       Checking # ******5943                            16,000.00             16,000.00                   0.00

                                                                                                                                       $16,000.00           $16,000.00                   $0.00




{} Asset reference(s)                                                                                                                               Printed: 10/06/2021 11:35 AM        V.20.36
